                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF MISSOURI

OLIN CORPORATION,
                  Plaintiff,
                                                      1        9$- 1 a        27 -e           -81-2 5
       vs.                                                     No.
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g UNITE&D STATES DEPARTMENT OF )                             (Judge -_.___A
              ,
                                                      1
                  Defendant.                          )

                                            COMPLAINT

        Plaintiff Olin Corporation (“Olin”), by its undersigned attorneys, for its Co

and alleges as follows.

                                     NATURE OF THIS ACTION

        1.        This is a bid protest action. Olin, as an interested party, challenges the decision of

Defendant, the United States Department of the Army (“Army”), to award Alliant Techsystems

(“Alliant”) two contracts, and to fail to award those contracts to Olin. The combined price of the

contracts is well in excess of one billion dollars.

        2.        The procurement at issue was conducted pursuant to two solicitations issued by           _

the Army: request for proposals No. DAAA09-98-R-0121 (“RFP 0121”), and request for

proposals No. DAAA09-99-R-0088 (WFP 0088”). (Collectively, these are the “RFPs” or the

“solicitations”.)

        3.        Pursuant to RFP 0121 and RFP 0088, the Army sought to award contracts to

(a) provide the Army with its requirements of small-caliber ammunition for a ten-year period;




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and (b) operate the Lake City Army Ammunition Plant (“LCAAP”), located in Independence,

Missouri, for the Army under a facilities use contract for a twenty-five year period.

           4.       Olin is the incumbent contractor, and has operated LCAAP for the Army since

1985.

           5.       Olin submitted timely and responsive proposals to the Army in response to RPP

0121 and RPP 0088. On information and belief, Olin’s proposals offered the best overall value

and the lowest risk to the Army, based on the evaluation factors set forth in the two RPPs. Thus,

under the evaluation factors, the Army should have selected Olin’s proposals for award.

           6.      Notwithstanding this fact, the Army awarded contracts pursuant to the RPPs to

Alliant.

           7.

                                     JURISDICTION AND VENUE

           8.      This Court has jurisdiction of this action pursuant to 28 U.S.C. 6 1491(b). Venue

is proper in this court pursuant to 28 U.S.C. $1391(e) because a substantial part of the events

giving rise to this action occurred in this Court’s jurisdiction.

                                             THE PARTIES

           9.      Plaintiff Olin is a corporation organized and existing under the laws of the state of

Virginia.

           10. The procurement was conducted by Defendant, acting through the United States

Army, Industrial Operations Command (“IOC”).




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                                        BACKGROUND

I.      INTRODUCTION

        11. This case involves two related procurements conducted by the Army in connection

with the Army’s LCAAP.

        12. The first procurement was conducted pursuant to RFP 0121. RFP 0121 originally

was issued by the Army on September 29,1998. Subsequently, the Army issued five

amendments to RFP 0121.

        13. RFP 0121, as amended, contemplated the award of a firm fixed price requirements

contract for the production of certain types of small caliber ammunition. RFP 0121

contemplated that the Army would purchase all of its requirements for the ammunition identified

therein for a ten-year period.

        14. The second procurement was conducted pursuant to RFP 0088. RFP 0088 was issued

by the Army on March 11,1999. Subsequently, the Army issued one amendment to RFP 0088.

        15. RFP 0088, as amended, contemplated the award of a facilities use contract to operate

LCAAP for the Army.

        16. The RFPs contemplated that both resulting contracts would be awarded to the same

offeror and that the successful offeror could use LCAAP to manufacture small caliber

ammunition for the Army.

II.    THE FEDERAL PROCUREMENT PROCESS

        17. Federal procurements generally are conducted using one of two procedures: sealed

bidding, or negotiated procurements. The Army conducted the LCCAP procurements as




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negotiated procurements. The procedures governing negotiated procurements are set forth in part

15 of the Federal Acquisition Regulation (“FAR”), which is codified at 48 C.F.R. Ch. 1.

        18. In negotiated procurements, an agency is required to specify the factors and

significant subfactors that the agency will consider in evaluating proposals for award, and their

relative importance. FAR 6 15.203(a)(4), 48 C.F.R. Ch. 1. The agency may only evaluate

proposals and select a contractor on the basis of the factors actually specified in the solicitation.

FAR 6 15.303(a)(4), 48 C.F.R. Ch. 1.

        19. Negotiated procurements generally are conducted in several phases. In the first

phase, the agency evaluates the initial proposals submitted by the offerors and establishes a

competitive range. Generally, the competitive range is comprised of all of the most highly rated

proposals, based on ratings of each proposal against the evaluation factors contained in the

solicitation. FAR 6 15.306(c)(l), 48 C.F.R. Ch. 1.

       20. After the competitive range is established in a negotiated procurement, the agency

engages in discussions with each offeror remaining in the competitive range. FAR

$ 15.306(d)(l), 48 C.F.R. Ch. 1.   In   such discussions, the agency is required to discuss with each

offeror “significant weaknesses, deficiencies, and other aspects of its proposal (such as cost,

price, technical approach, past performance, and terms and conditions) that could, in the opinion

of the contracting officer, be altered or explained to enhance materially the proposal’s potential

for award.” FAR $ 15.306(d)(3), 48 C.F.R. Ch. 1.

       2 1. In conducting discussions with offerors in the competitive range, an agency may not

favor one offeror over another. FAR $ 15.306(e)(l), 48 C.F.R. Ch. 1.




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        22. After completing discussions with the offerors in a negotiated procurement, an agency

requires the offerors to submit revised offers, known as best and final offers (“BAFOs”). FAR

$15307(b), 48 C.F.R. Ch. 1. The agency is required to evaluate the BAFOs in accordance with

the evaluation factors set forth in the solicitation in order to select a contract.

        23. There are two methods for selecting a contractor that may be used in a negotiated

procurement. The solicitation must specie which method will be used, and the actual selection

must be made in accordance with the method identified in the solicitation.

        24. The first source selection methodology is the lowest price technically acceptable

source selection process. In this process, all offeror’s whose proposals meet the technical

requirements are treated as technically equal, and the contract is awarded to the offeror who

offers the lowest price. FAR $ 15.101-2,48 C.F.R. Ch. 1.

        25. The second method of source selection is the best value tradeoff method. In this

method, proposals are not merely evaluated as meeting or failing to meet the non-price

requirements. Rather, proposals are given relative ratings for one or more non-price evaluation

factors. The agency then conducts an analysis to tradeoff the non-price ratings with the

evaluated price of each proposal, to ascertain which proposal offers the best value to the

government. FAR 6 15.101-1,48 C.F.R. Ch. 1.

III.    THE LCAAP PROCUREMENTS

        A.      The Solicitations

        26. The LCAAP procurements conducted pursuant to RFP 0121 and RFP 0088 were

negotiated procurements.




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        27. RFP 0121 and RFP 0088 contained the identical evaluation factors. Specifically, the

solicitations stated that proposals would be evaluated on the basis of Past Performance, Technical

Capability, and Cost. Further, the solicitations stated that each of these factors was of equal

weight. The solicitations also provided that proposals received in response to the two

solicitations by each offeror would be evaluated in conjunction with each other.

        28. In addition, RFP 0121 and RFP 0088 required that proposals also be separately

evaluated through a risk assessment that would document the relative strengths, deficiencies,

significant weaknesses, and risks of each proposal. Each proposal was to receive an overall risk

rating. The potential ratings ranged from “low” (meaning, under the terms of the evaluation

criteria that “virtually no doubt exists that the offeror will successfully perform the required

effort”) to high (“significant doubt exists that the offeror will successfully perform the required

effort”).

        29. Thus, the solicitations provided that the Army would use the best value tradeoff

source selection methodology, and not the lowest price technically acceptable methodology. The

solicitations provided that both contracts would be awarded to the same offeror.

        B.      Receint And Evaluation Of Pronosals

        30. Four companies submitted initial proposals in response to both RFP 0121 and RFP

0088. The Army found that all four companies were in the competitive range, and thus were

eligible for further discussions and potential award. One of the four companies later withdrew

from the procurement, and thus only three offerors continued to participate.




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       3 1. After an initial round of discussions, on or about May 19,1999 the Army requested

that offerors submit BAFOs. Olin complied with the Army’s request, and submitted a BAFO on

June 1,1999.

       32. On or about June 8,1999, however, the Army reopened the procurements, issuing an

amendment to RFP 0 12 1. Along with the amendment, the Army engaged in written discussions

with each offeror. The Army provided each offeror with a written document identifying

questions or areas for the offeror to clarify or correct its proposal.

        33. On information and belief, the sole reason that the Army reopened the procurement

was because Alliant’s proposal required correction. On information and belief, without the

required correction to its proposal, Alliant would not have been eligible for award.

        34. Olin submitted the requested BAFO on or about June 10,1999.

        35. After awarding the contracts to Alliant, the Army provided Olin with a debriefing. At

the debriefing, the Army advised Olin that, after the Army received BAFOs, the Army had

further communications with Alliant. Specifically, the Army sent Alliant a letter requesting that

Alliant confirm the accuracy of its price. On information and belief, Alliant did not provide a

sufficient response. Consequently, the Army sent still another letter to Alliant asking Alliant to

respond to specific questions regarding the accuracy of Alliant’s price. Finally, Alliant provided

the response the Army desired.

        36. On information and belief, if Alliant had not responded adequately to the Army’s

post-BAFO communications, Alliant would not have been eligible for award.

        37. On information and belief, the Army did not engage in any post-BAFO

communications with any offeror other than Alliant.




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        38. The Army evaluated Olin’s BAPO as ranking first among the four offerors for the

Technical Capability and for the Past Performance factors, which constituted two-thirds of the

evaluation scheme. In comparison, Alliant’s BAPO was ranked third (i.e., last) for these two

factors. These rankings were somewhat misleading, however, as the Army assigned the same

adjectival rating of Excellent to the technical proposals of all four offerors. In addition, on

information and belief, the Army had informed the offerors during proposal negotiations that

each likely would receive a technical rating of Excellent during negotiations.

        39. The Army evaluated Alliant’s BAPO as offering the lowest cost to the government.

The Army evaluated Olin’s BAPO as offering the second lowest cost to the government.

Alliant’s evaluated BAPO cost was significantly lower than Olin’s evaluated BAPO cost.

       40. Based on the evaluation of the BAPOs under the three evaluation factors (Technical

Capability, Past Performance, and Cost), the Army assigned Olin’s proposal a low risk. Under

the definitions included in both RPP 0121 and RFP 0088, this meant that the Army believed

there was virtuahy no doubt that Olin would perform the contract successfully.

       41. Based on the evaluation of the BAPOs under the three evaluation factors (Technical

Capability, Past Performance, and Cost), the Army evaluated Alliant’s BAPO as having a

moderate risk. Under the definitions included in both RPP 0121 and RPP 0088, this meant that

the Army had some doubt that Alliant would successfully perform the contract.

       42. The Army’s source selection authority (“SSA”) selected Alliant for award based

solely on Alliant’s extremely low price, and disregarded the remaining evaluation criteria,

including the results of the risk assessment.




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                                             COUNT I
                                    JArbitrarv And Cavricious
                             Source Selection Decision And Deviation
                             From The Snecified Evaluation Scheme)

        43. Paragraphs l-42 are incorporated herein by reference.

        44. The Army’s source selection decision was arbitrary and capricious, and not in

accordance with the evaluation factors set forth in the RFPs.

        45. Olin’s proposals were ranked first for the Technical Capability factor and the Past

Performance factor, and second for the Cost factor. In terms of the relative importance of these

factors, therefore, Olin ranked first for two-thirds of the weighted evaluation factors, and second

for the remaining one-third of the weighted evaluation factors.

        46. In contrast, Alliant’s proposals were ranked third (i.e., last) for the Technical

Capability and Past Performance factors, and first for the Cost factor.

        47. On information and belief, the SSA selected Alliant for award solely on the basis of

Alliant’s low evaluated cost. In so doing, the SSA made cost the most important evaluafion

factor. Even though Olin was ranked higher for factors weighted twice as much as cost, the SSA

still awarded the contract to Alliant. By failing to award the contract to Olin, which was ranked

first for two-thirds of the evaluation factors, the SSA ignored the relative rankings of the

evaluation factors and made a selection decision that was inconsistent with the scheme set forth

in the solicitations.

        48. On information and belief, moreover, the Army had substantial doubts that Alliant

would be able to perform the contracts at its evaluated price. Thus, there was doubt as to




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whether Alliant’s proposal represented the lowest cost approach, or the extent to which Alliant’s

approach would result in actual cost savings.

        49. Despite the Army’s concerns with the risk associated with Alliant’s low proposed and

evaluated cost, the SSA essentially accepted Alliant’s low evaluated cost as the likely cost that

the government would incur if Alliant were awarded the contract. This was arbitrary and

capricious, and ignored the Army’s own findings and concerns with Alliant’s cost proposal.

        50. Moreover, the SSA awarded the contract to Alliant solely on the basis of Alliant’s

low evaluated cost. Because the SSA ignored the Army’s identified concerns with Alliant’s low

cost, the SSA’s stated basis for selection was arbitrary and capricious.

        5 1. Finally, in awarding the contracts to Alliant, the SSA completely failed to consider

the risk assessment ratings as required by the evaluation scheme contained in the RFPs.

        52. Accordingly, the selection of Alliant for award was arbitrary and capricious, and

inconsistent with the evaluation factors set forth in the solicitations, in violation of FAR

$ 15.303(a)(4), 48 C.F.R. Ch. 1.

                                           COUNT II
                             (Deviation From The Evaluation Factors)

       53. Paragraphs l-52 are incorporated herein by reference.

       54. In evaluating proposals and selecting Alliant for award, the Army deviated from the

evaluation factors set forth in RFP 0121 and RFP 0088.

       55. Specifically, the Army converted the source selection methodology for the LCAAP

procurements from best value tradeoff to lowest cost technically acceptable. The Army did this

by engaging in multiple rounds of discussions for the purpose of ensuring that all offeror’s




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.




    technical proposals would be evaluated as essentially equal. As a result, price became the sole

    basis for award, and the Army never conducted an appropriate tradeoff between price and non-

    price factors. In fact, the SSA completely disregarded the risk assessment ratings given to each

    proposal as required by the evaluation scheme contained in the RFPs.

           56. Accordingly, the Army failed to select a contractor in accordance with the factors set

    forth in the RFPs, in violation of FAR $ 15303(a)(4), 48 C.F.R. Ch. 1.

                                               COUNT III
                                           fUneaual Treatment)

           57. Paragraphs 1-56 are incorporated herein by reference.

           58. The Army improperly favored Alliant in conducting these procurements.

           59. On information and belief, the Army concluded that Alliant’s initial proposal

    contained unbalanced pricing. This meant that, although Alliant’s overall evaluated cost was

    low, the Army did not believe that Alliant’s cost would be low in actual performance.

           60. When the Army issued Amendment 0004 to RFP 0121, the amendment specifically

    cautioned offerors against submitting unbalanced pricing. On information and belief, this

    caution was intended to advise Alliant to revise its pricing scheme.

           6 1. After issuing Amendment 0004 to RFP 0 12 1, the Army requested offerors to submit

    BAFOs. On information and belief, the BAFO submitted by Alliant continued to reflect pricing

    inadequacies. On information and belief, the Army reopened the procurement, issuing

    Amendment 005 to RFP 0121 and requesting a second round of BAFOs, solely to give Alliant

    another chance to remedy its price proposal.




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        62. Even after receipt of the “final BAFO” from Alliant, the Army still had concerns

about Alliant’s extremely low prices. Consequently, as the Army advised Olin during the post-

award debriefing, the Army twice sent letters to Alliant asking questions regarding the accuracy

of Alliant’s price. After finally getting the response it desired, the Army ended its post-BAFO

discussions with Alliant.

       63. Throughout this process, the Army’s conduct improperly favored Alliant. The Army

apparently was very concerned that Alliant’s extremely aggressive pricing would not prove to be

low in actual performance. Yet, on information and belief, the Army was so enamored with

Alliant’s low price that the Army did everything it could to help Alliant correct its proposal so

that the Army could accept Alliant’s proposal. At several points in this procurement, the Army

could have rejected Alliant’s proposal because of the concerns with Alliant’s price proposal.

Instead, the Army coached Alliant to make corrections and improvements, through multiple

rounds of discussions and post-BAFO negotiations.

       64. The Army’s conduct improperly favored Alliant, and was in violation of FAR

3 15.306(e)(l), 48 C.F.R. Ch. 1. Further, the Army’s post-BAFO discussions with Alliant

violated the requirement that discussions be held with each offeror in the competitive range, FAR

8 15.306(d)(l), 48 C.F.R. Ch. 1.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Olin prays that judgment be entered in its favor and against

Defendant as follows:

       a.      Permanently enjoining the Army from awarding the contracts to Alliant pursuant

to RFP 0121 and RFP 0088;




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       b.       Declaring that the Army abused its discretion and acted arbitrarily, capriciously,

and irrationally in awarding the contracts to Alliant pursuant to RFP 012 1 and RFP 0088;

       C.       Directing the Army to make contract award to Olin pursuant to RFP 0121 and

RFP 0088, as the offeror who offered the best overall value to the Army; and

       d.       Granting such other and further relief as the Court may deem just and proper.

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